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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUⅣ IBIA

UNITED STATES OF AⅣ IERICA                           CRIMINAL NO.15‐ CR¨ 74(BAH)

               V.                                    UNDER SEAL

CODY ALEXANDER,
               Defendant。



                            GOVERNMENT'S STATUS REPORT

       The United States of America, by and through his attomey, the United States Attorney for

the District of Columbia, hereby provides the Court with a status report.

       On July 1,2015, defendant Cody Alexander pled guilty pursuant to a cooperation plea

agreement. The defendant is currently on release pending sentencing.

       The defendant is continuing to cooperate and there are no issues to report to the Court.

The defendant is not yet in a position to be sentenced. The government      will file   another status

report in approximately ninety (90) days, on or about January 4,2016.

                                             Rcspectfully subΠ litted,



                                             VINCENT H.COHEN,JR.
                                             ACTING UNITED STATES ATTORNEY
                                                       No.:471489



                                       BY:
                                                 Pearlman
                                             Assistant l」 nitcd States Attorncy
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         Case 1:15-cr-00074-BAH Document 13 Filed 10/01/15 Page 2 of 2



                                    Certiftcate of Service


       l hcrcby cc■ 1取 that a cOpy ofthc forcgoing was scwcd on counscl for dcfcndant,Bemic
Grimm,by c― mail,this lSt day of Octobcr,2015




                                           Jeff Pearlman




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